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                        UNITED STATES D ISTRICT
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                                                CO URT FOR TH E
                          SOU THERN DISTRIC T OF FLORD A
                                                          I

      MACKWELLSand                                        r
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      M AURICESYM ONEU E

                                                                          CASE:23-C4-22640-JEM
      vs                                                                              FlLB: ay   ,
                                                                                                 '        a
                                                       E                                                      o
      U.S.B3rlk,N3tionalAssociation                    l
      AsyrusteeforFAsczoosAHL3                         '                                 Ml? g 2j2j
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       EM ERG ENCY M OTIO N TO VO ID FO RECLOSURE SALE IN VIO LATIO N FO R
      SANCTIONS AGAINST U S.BANK FO R VIO LATING FEDERA
                                      .
                                                         1 LSTAY AND
      W ILLFULLCONTEM PT IN VIOLATION QF28 U S.CO DE SSI1446 (d)AND
                                                                  .
                                                       -
                                                       i
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        '            TO VOID SALE BECAUSE OF)
                                            FORGERY AND FRAUD
                                                              '
                                                                      .
                                                                                   j                              .
                                                                                                                      .'




      COMESNOW,Defendant,MACKLEWISWELLS,JRtandMAURICESYMONE
                                                         'U E,Theforeclosure
                                                                                   j                              .
      salewasscheduled forOct.16,2023.Priorto the'5conductofthe sale,thejDefendants entered
      intotherecord here,on*tw o occasions,a notice pf,rem ovalofthis ad ion1to the federalcourt                           .
'                                                     l
     w hich w as previously filed in the federalcourton July 14,2023.M aterialto the notice w asthat
.                                                     I

     it was filed underfederalaction 23-CV-22640-JEM . The nature ofthe Emergency isthey are
                                                      '



                                                                         j
                                                                         '
     evicting usoutofourhom e by Foreclosing on the house during the FederalStay denying our
             '

     Objection to Sale Based on the FederalStay of Notice ofRem ovaland ij
                                                                         n Dade County Case#
                                                      l
     2010-61928-CA01 the Clerk of Courts Iied by passing the Title of our hom e Illegally by stating
     thatweneverfil
                  edanObjecti                             1
                            ontoSalewi
                                     thin10daysdatedonthatIDocket04/24/24but
     when you checkthe DocketofCase# 2010-61928-CA01 you willsee that we Objeded to the
                                                                                  :
5/6/24, 9:Case
          19 AM 1:23-cv-22640-JEM                                                                         Document Screen
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       UNITED STATES DISTRICT COURT OF THE SOUTHERN DIS RICT OF FLORIDA



    U.S. BANK, NATIONAL ASSOCIATION
    AS TRUSTEE FOR RASC                                            CASE NO: 2010-61928-CA0l
    2005 AHL3, MERS, FRANKLYN
    CREDIT MANAGEMENT CORP and
                                                                                  I
                                                                   NOTICE OF REMOVAL
    AXIOM           FlijANCIAL SliR.VICES
         '':·   -~
        .~·•JI.,-,.;.
                     .•
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                          .•   "'
                                                                   Removed fror:
                                                                                  I
                                                                                                              •
    Plaintiffs,
                                                                   Eleventh Circuit District Court of Dade
                v.                                                              I
                                                                   County Florida
    MACK WELLS and MAURICE SYMONETTE

    Defendants.                                                                                       JUL 14 2023
                                                                                                       ANGELA E. NOBLE
                                                                                                      CLERK U.S. DIST. CT.
                                                                                                    S. D. OF FLA .• FT. LAUD.

     TO:        Clerk of the U.S. District Court for the Southern District of Florida:
                                                                                  I
                PLEASE TAKE NOTICE THAT Defendants MACK WELLS, MAURICE

  SYMONETTE and, collectively with the other nimed Defend~ts, "Deflndants"), hereby removes



  WE HAVE FOUND WITH \ROOF THAT ALL EIGHT OF THE JUDGES AND PUBLIC OFFICIALS

  HAVE HORRIBLE MONEY CONFLICTS OF INTEREST so THAT WE CI N'T GET JUSTICE FROM

 . THE TOP TO THE BOTTOM Judge Sarah Zabel had already Dismissed this ~ase with PREJUDICE April

  6th 2009 but out of nowhere a Judge we never met or1,had a Hearing in front   J     exactly one year later April

  6th 20 IO put in the same Order as our real Judge Sarah Zabel of Dismissal witJ Prejudice as a trick to avoid

  the presidence of a Judge in the same Circuit Court dannot change the OrderJ of another Judge it must be

  Appealed to a higher Court Ford Vs. Calloway so she waited three months and put in a new Order of

  Dismissal without Prejudice in an Illegal Exparte Hearing in Violation of Fl. Stat.702.07 which says

  Defendants must be present this was done without any notice to us which gave Judge Schlesinger six

  months later the right to have a new Case Heard 2010-61928-CA0l tlie Case that this notice of

  removal is about and Judge Schlesinger foreclosed us Illegally even though he liso had a horrific Conflict of

                                    '                  -1-
Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 4 of 58




                            UNITED STATES DISTRICT COURT FOR TH •
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DifISION

                               Case Number: 23-22848-CIV-MARTINEZ

    MACK   WELLS              and      MAURICE
    SYMONETTE,

            Plaintiffs,

    v.

    U.S. BANK, NATIONAL ASSOCIATION,
    et al.,

          • Defendants.
    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.!

                                      ORDER REMANDING CASE

           TIDS MATTER came before this Court on a sua sponte review f the record. It appears

    on the face of Plaintiffs Mack Wells and Maurice Symonette'spro se Ntice of Removal, (ECF

   • No. 1), that this Court lacks subject matter jurisdiction over this case undJ the Younger abstention

~-. • doctrine, Rooker-Feldman doctrine, or both. See Bochese v. Town of Polee Inlet, 405 F.3d 964,

    974-(1 lth Cir. 2005) ("[A] federal court is obligated to inquire into subjedt matter jurisdiction sua

   .sponte whene;er it may be lacking."). This Court, therefore, remands thil case.

           A civil action may be removed from a sta~e court to federal coJ if the federal court can

   •exercise·f~deral question jurisdiction under 28 U.S.C. § 1331 or diversily jurisdiction under 28
     .                                                                            I
   U.S.C. § 1332. See 28 U.S.C. § 144l(a); see also Blab T. V, Inc. v. Comcast Cable Comn.1uns.,

  • Inc;, 182 F.3d 851, 854 (11th Cir. 1999). Diversity jurisdiction exists if (lj the parties are "ci~faens

    of different States," and (2) ''the matter in controversy exceeds the sum   J     value of $75,000." 28
                                                                                  I
   U.S.C. § 1332(a); see also Williams v. Best Buy Co., 269 F.3d 1316, 1319 (11th Cir. 2001).
Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 5 of 58



   Granting Defendants' Motion to Dismiss 1-2, Symonette v. Aurora Loan Servs., LLC, No. 13-CV-
                  .                                I                        j
   23142-HUCK (S.D. Fla. July I, 2014), ECF No. 2~; Order of Dismiss~ t2,. Ward v. JP Morg~n

   Chase Bank, No. 13-cv-60834 (S.D. Fla. Apr. 11, 2013), ECF No. 5 (d1sj1ssmg Mr. Symonette s

   complaint seeking an injunction of a pending foreclosure action un er Younger abstention

   doctrine).

          Accordingly, it is ORDERED AND ADJUDGED that:

           I.    This case is REMANDED to the Eleventh Judicial Circui in and for Miami-Dade
                                                                        I
   County, Florida.

          2.     The Clerk of Court is DIRECTED.to CLOSE this case.

          DONE AND ORDERED hi Chambers at Miami, Florida, this ~day of August, 2023.
                                                   •                    I




                                                         ___,,I     ?11/l
   Copies provided to:                                           TINEZ
   Mack Wells,pro se                                            ATES f>ISTRICT COURT
   Maurice Symonette, pro se




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Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 6 of 58




                             UNITED STATES DISTRICT COURT FOR TH
                                 SOUTHERN DISTRirT OF FLORIDA
                                        MIAMI DIVISION
                                                            I
                                                            I



                                  Case Number: 23-22640-CIV-MARTINEZ

  MACK   WELLS                 and      MAURICE
  SYMONETTE,

          Plaintiffs,

  V.


  U.S. BANK, NATIONAL ASSOCIATION,
  et al.,

          Defendants.
  -----------------'/

       ORDER REQUIRING BRIEFING CONCERNING TIDS COUR 1'S JURISDICTION

          THIS MATTER came before this Court on a sua sponte review lf the record. It appears

  on the face of Plaintiffs Mack Wells and Maurice Symonette' s prose AmeJded Complaint to Quiet

  Title and Fannie :Mae ~uite [sic] Title Constructive Fraud with No Nf.ld [sic] to Prove Intent

  (Axiomatic) and Violations of Federal and State 4aws and Rules to Taklproperty [sic] Because

  tue [sic] Battl<:s Paid Officials for it and Complaini for FL. Rule 9 .13 0 to ldd Claim for Punitive

  Damages (the "Amended Complaint"),"' (ECF to. 6), that this coJ lacks subject matter

  jurisd~ction over this case under the Younger abstention doctrine, Rook1-Feldman doctrin~, or
                              .                                                        I
  both. See Bochese v. Town ofPonce Inlet, 405 F.3d 964, 974 (11th Cir. 2.005) ("[A] federal court

  is obligated to inquire into subject.Tr jurisdiction sua sponte who:11Jer it may be lacking.")

  This Court, therefore, orders Plai~iff to .provide this Court with a mem[!
                                                                          randum concerning its


      ' Generally, pro se complaints: ·::Id to a less stringent standard than fo al pleadings drafted by
  lawyers. See Tannenbaum v. United States, 148 F.3d 1262, 1263 (~h Cir. 1998). But the lower pleading
  standard does not permit a court to "serve as de facto counsel .for a party, o~ ... rewrite an otherwise
  deficient pleadll}g in order to sustain an action." GJR Jnvs., Inc>,-... Cnty. OfEscambia, 132 F .3d 13 59, 13 69
  (11th Cir. 1998).                                                      •      •
Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 7 of 58



                                                     I
  complaint seeking an injunction of a pending foreclosure· action un er Younger abstention

  doctrine). This Court also notes that Mr. Wells and Mr. Symonette have alempted to seek federal

  review over the State Court Case via a separate rJmoval action, which iJ also before this Court.
                                                     II •               .   I
  See generally Notice of Removal, US. Bank Nat 'l Ass 'n v. Wells, No. 23-2i848-CIV-MARTINEZ

  (S.D. Fla. July 31, 2023), ECF No. 1. This Court lm address that action !by separate appropriate

  order. Accordingly, it is ORDERED AND ADJUJ)GED that:
                                                     '
         l·.    On or before Monday, August 7, ~023, at 1:00 p.m., Plai!nltiffs SHALL file with

         the Clerk of this Court a memorandum of np more than ten pages that addresses why this

         Court should not dismiss this case under th~ Younger abstention do trine, Rooker-Feldman
                                                                            I
         doctrine, or both. The memorandum must be type in 12 pt. Times New Roman font, double
                                                     1


         spaced, and have one-inch margins. The memorandum must bjar Case Number: 23-

         22640-CIV-MARTINEZ, so that it is filed in this action.

         2.     Plaintiffs' failure to comply with this Order will result in appropriate

         sanctions, including dismissal of this casei"dthout prejudice, wi1lhout further warning.

         3.     The Clerk is DIRECTED to ADMINISTRATIVELY CLOSE this case for
                                                     i                  •
                                                     I .
         statistical purposes only pending this Court's determination concer·ng its subject matter
                                                     1·
                                                     I
         jurisdiction. This administrative closure will not affect the Parties' substantive rights;

         rather, it is an administrative tool routinely used by this Court alcording to its inherent

         authority to manage its docket.

         DONE AND ORDERED in Chambers at Miami, Florida, this 3r



  Copies provided to:                                       E E. MARTINEZI
  Mack Wells, pro se                                        TED STATES DISTRIC
  Maurice Symonette, pro se




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Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket
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                              UNITED STATES DISTRICT COURT FOR THE
                                 SOUTHERN DISTRICT OF FLORIDA
                                          Marni Division

                         Case Number: 20-20873-CIV-MARTINEZ-OTAZO-                          YES

   AMANDA MARTIN,
        '   Plaintiff,

   V.
                                                                                            •
   JOBY DAVID OGWYN,

            Defendant.
                                                       /                                I
                      ORDER SETTING CIVIL TRIAL DATE AND PRETRIAL
                     SCHEDULE, REQUIRING MEDIATION.AND REFERRING
                         CERTAIN MOTIONS TO MAGISTRATE JUOGE
            Trial is scheduled to commence during the two-week period b e ~ Tuesday, January
   19, 2021 at 9:30 a.m., before Jose E. Martinez., United States District Judke, 400 N. Marni Ave.,
   Courtroom 10-1, Marni, Florida 33128. Calendar Call will be held on J                Iuaiy 14, 2021 at 1:30
                                                 '
   p.m. at the same location.
            IT IS ORDERED AND ADJUDGED as follows:
            l        No pretrial conference shall be held in this action unless the Court determines that
   a pretrial conference is necessary. Should a pretrial ~onference be set, the cllompliance .deadlines as
   set forth in the remainder of this Order shall remain unahered.
            2.       Every motion filed in this case shall be accompanied by ne proposed original
   order granting the motion. Unless otherwise specified by the Court, everyhiotion shall be double-
   spaced in Tnnes New Roman 12-point typeface.
                                    Pretrial Stipulations and Jury Instructions
            3.       Counsel and all pro se litigants must meet to confer on th preparation of a joint
  pretrial stipulation, which must be ftled by the deadline set forth beloJ, The stipulation shall
                                                                                                  '
   conform to Local Rule 16.1(e) and include a joint, neutral summary of the claims and defenses in
   the case, not to exceed one short•paragraph per litigant claim, to be read as an introduction for voir
   dire exalrination. The Court will not accept unilateral pretrial stipulatioJ and will sua'sponte •


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                              ,._ ,•,
Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 9 of 58




expeditious resolution of this cause.


       DONE AND ORDERED in Chambers at   Miami) Florida, this 21st day ff April, 2020.

                                                     (   [~
                                                 EE. MARTINEZ
                                                ITED STATES DIS

Copies provided to:
Magistrate Judge Otaz.o-Reyes
All Counsel of Record




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Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 10 of 58



                                                         I
                           UNITED STATES DISTRICT
                                               I
                                                  COURT FOR THE
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                                         I
                              Case Number: 23-24150-CIV-MARTINEZ

   SAMUEL LEE SMITH JR.,

           Plaintiff,

   v.
   CITY OF MIAMI and ERIC MARTI,

        Defendants.
   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _!

                     ORDER SETTING CIVIL TRIAL DATE AND PRET
                  • SCHEDULE, REQUIRING MEDIATION, AND REFERRING
                        CERTAIN MOTIONS TO MAGISTRATE JUDGE
           Trial is scheduled to commence during the two-week period beginnihg Mond~y, February
   24, 2025, at 9:30 a.m., before Jose E. Martinez, United States District Judke, 400 N. Miami Ave.,
                                                                                  1
   Courtroom 10-1, Miami, Florida 33128. Calendar Call will be held on T ursday, February 20,
   2025, at 1:30 p.m., at the same location.
           It is ORDERED AND ADJUDGED as follows:
                                           General Procedures
           1.      No pretrial conference shall be held ~n this action unless the Court determines that
   a pretrial.conference_ is necess8?'. Should a pretria_l ~onference be set, the cI! mpliance deadlines as
   set forth m the remamder of this Order shall remam1unaltered.
                                                             I


          2.       Every motion filed in this case shall pe accompanied by a p oposed order granting
   the motion. The proposed order shall be filed as an exhibit to the m1tion and e-mailed to
   martinez@flsd.uscourts.gov in Word format.
          3.       The parties have a continuing duty to ensure the Clerk of the Court is provided with
   the up-to-date service information.
          4.     If the case is settled, the parties are directed to immediate y inform the Court at
   (305) 523-5590 and file a notice of settlement.
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    1-10-2025           All pretrial motions and memoranda of law must be filed. Each party is
                        limited to filing a single motiqn in limine, which ma~I not, without leave of
                        Court, exceed the 20-page limit allowed by the Rules.
                                                          l
                                                          i
    1-27-2025           Joint Pretrial Stipulation must be filed.
                                                          I
    2-18-2025           Proposed jury instructions and/or proposed findings o fact and conclusions
                        oflaw must be filed.          I

    2-19-2025           Proposed voir dire questions ~ust be filed.
          Failure to comply with this or any order of this Court, the Local Rules, or any other
   applicable rule may result in sanctions, includin~ dismissal without pr~judice or the entry of
   a default, without further notice.                     I
          It is the duty of all counsel and pro se litigants to enforce the timetable set forth here to
   ensure an expeditious resolution of this matter.
                                                          I

          DONE AND ORDERED in Chambers at Miami, Florida, this 26th day of February, 2024.




   Copies provided to:
   Magistrate Judge Sanchez                                           TATES DIST             GE
   All Counsel of Record
                                                                                  I




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                                                         I
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                                         I
                                  Case No. 24-CR-20051-MARTINEZ

   UNITED STATES OF AMERICA

   V.

   ALFRED LENORIS DAVIS,

           Defendant.
   - - - - - - - - - - - - - - - - - - -I


                            ORDER SETTING CRIMINAL TRIAL DATE
                                AND PRETRIAL SCHEDULE 1
          •Trial is scheduled to commence during the two-week period beginning Monday, March
   25, 2024, at 9:30 a.m., before Jose E. Martinez, United States District Judle, 400 N. Miami Ave.,
   Courtroom 10-1 Miami, Florida. Calendar Call will be held on Thursda~, March 21, 2024, at
                                                                                  I
   1:30 p.m. at the same location. Defendants are not required to appear lor Calendar Call.
           IT IS ORDERED AND ADJUDGED as follows:
                                                         I
           1.      Every motion filed in this case shall be accompanied by one proposed original
   order granting the motion. The order shall contain the up-to-date sJrvice list (names and
   addresses) of all attorneys in the case.              i

           2.     All motions filed SHALL BE accompanied by a written statement certifying that
   courisel for the moving party has conferred with opposing counsel in a gook faith effort to resolve
                                                             :                    I
   by agreement the subject matter of the motion, as r~quired by Local Rule ,8.9A.
           3.    For cases to be heard before a jury, JOINT proposed jury instructions and verdict
                                  •                                        I
   form must be submitted at least ONE WEEK prior to the Calendar Call. In preparing their
   requested jury instructions, the parties shall utilize as a guide the Pattern 1Jry Instructions for
                                                                                  I
   Criminal Cases approved by the United States Eleventh Circuit, including the Directions to
   Counsel contained therein.


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           Counsel shall note changes on page "4" of the Scheduling Order regarding submissions
   on Motions in Limine.
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   desire of the Court that all Garcia hearings be conducted as close to the time of arraignment as
   possible.
          8.      Counsel are DIRECTED to:
                                  a.     IMMEDIATELY, upon receipt of this Order, certify


                                                                               j
                          with the Court's Courtroo~ :Deputy the necessiJ of an interpreter for
                           the Defendant(s); and
                                  b.     At least twe~ty-four (24) hours p ior to any hearing or
                           trial, notify the Court, if aJ interpreter is requir d, including the stage
                           of the trial at which an int~rpreter will be necesslry.      .
          9.      If defense counsel foresees that a sedtencing hearing will tJe more than thirty (30)
   minutes, the Court's Courtroom Deputy should be ~dvised no later than fite (5) days prior to the
   hearing.
          10.     Failure to comply with this or any Order of this Court, the Local Rules, or any other
   applicable rule SHALL result in sanctions or other ~ppropriate actions. It i! the duty of all counsel
   to enforce the timetable set forth herein in order to ensure an expeditious Jsolution of this cause.
                                                                                I
          DONE AND ORDERED at Chambers in Miami, Florida, this 161 day ofFebruary 2024.


                                                                       (   [~
                                                               E. MARTINEZ!
                                                              TED STATES D STRICT
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   Copies provided to:
   Magistrate Judge
   All Counsel of Record
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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRI~T OF FLORIDA
                                                  I
                                CASE NO. 20-20873-CIV-MARTINEZ

   AMANDA MARTIN,

            Plaintiff,

   v.
   JOBY DAVID OGWYN,

            Defendant.
   _______________/
                         ORDER REMANDING CASE TO STATE COURT
                                                                             I


            THIS CAUSE is before the Court upon the 'Defendant's unopposed! motion to remand this

   matter to state court based on lack of diversity jJisdiction (DE 24). uJon consideration, it is

   hereby

            ORDERED AND ADJUDGED that this mktter
                                            !
                                                  is REMANDED o the Eleventh Judicial
                                                     I



   Circuit in and for Miami-Dade County, FL. The Clerk shall mark this case CLOSED and DENY
                                                     i
   AS MOOT any pending motions.

            DONE AND ORDERED in Chambers at Miami, Florida this 21st day of July, 2020.
                                                     II




                                                             EE. MARTI~EZ
                                                            ITED STATES DISTRI
     Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 15 of 58




                        IN THE CIRCUIT COURT C>F iHE ELEVENTH jumcIAL c1Rcui:r "'
                           •    IN ~J) FQR MIAMI~DADE COUNT~, FLORIDA
                                             CIVIL A0~TJON  I

               US BANK, N.A.,                                                                           I
                     Plaintiff,                                                                         I
                                                                                                        I
                                            C:ASE NO.           2007-12407-CA                           I
               vs.                          DIViSION            32                                      I
                                                                                                        I
                                                                                                        I
                                                                                                        I
                                                                                                        I         .
                                                                                                        SPAC&FOR RECO,



               LEROY WILLIAMS; MARK WELLS; FRANKLIN
               CREDIT :MANAGEMENT CORPORATION; CITY
               OF NORTH MIAMI;
                          Def~ndant(s).




                                                               PHOTOSTATIC .GGP-JRS


                       THIS CAUSE having come on. before the Court, ex parte, pursuant to tlie Motion:filed by the Plaintiff. pursuant
          '·
               to Section 702.07 Florida ·statutes (2005), and the Court being otherwise fully aqvised in ~hep cmises, it is,

                       ORDERED AND ADJUDGED as follows:                                                                          .   I -·
                                 The case be and the same herebv is dismissed, !but without prejudice to the fuLe rights of the Plaintiff to
                       l.
                                                                 •               ,                                                   I
               bring an actlon to foreclose· die mortgage which is the subject matfor of the instant cause.                          I
                        2.       All Counts of.the Complaint-against J)efendai'lts: LEROY WILLIAMS: MARK WELLS;

               FRANKL~ CREDIT MANAGEMENT CORPORATION; !CITY OF NORTH MIAMI; I are hereby dismissed.



                       3.        Any scheduled foreclosure sale is canceled.




                                                                                       Seria.1: 13666522
               FILE_NlJMBER: F07D12148                                                 DOC_ID: M010502



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Bk 27343 Pg 949 CFN 20100451678 07/06/2010 15:32:32 Pg 1 of 3 Mia-D$c;le Cty, FL
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     Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 16 of 58
                                                                                                                             Exh.10 pg.1
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                       IN THE CIRCUIT COlmT OF THE ELEVENT:t4 :JUDICIAL CIRCL IT ~
                                                                                  I                                   .
                                   IN AND FOR MIAMI-DADE COUNTY, FLORIDA
                                                        CIVIL ACTION

              US BANI(, N.A.,
                    Plaintiff,

                                           CASE NO.           2007-12407-CA
              vs.                          DIV_ISION          32




              LEROY WILLIAMS; MARK WELLS; FRANKLIN
              CREDIT MANAGEMENT CORPORATION: CITY
              OF NORTH MIAMI;
                                Dcfendnnt(s).




                                                              PHOTOSTATIC COPIES                                                         i

                      THIS CAUSE having come on before the Court, ex parte. pursuant ro tlie Motion file I by the Plaintlif. purfuant
                                                                                      .                                              i
              to Section 702.07 Florida Stanltes (2005), and the Court being :therwise fully advised in theiremises. it is.          :

                      ORDERED AND ADJUDGED as follows:                                                                               :

                      i.       The case. be and the same hereby is dismissed~ but without prejudice to the l,uture rights of the Plaintiff to

              bring an action to foreclose. the mongage which is the subject :alter of the instant cause.                            '

                      2.       All Counts of the Complaint against Defendants: LEROY \\11LLIAMS: 1AR.K WELLS;
               .                                                              I
              FRANKLThJ CREDIT MANAGEMENT CORPORATION; CITY OF NORTH MlAMI. are hereby dismlss.ed.



                     3.        Any scheduled foreclosure sale is canceled.




                                                                                          Serial: 13666522
              FllE_NUMBER: F07012148                                                      DOC_IO: M010502



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      Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 17 of 58
 _/

                                                                                                                      Exh. 10 pg.2
                    4.
                                                                              I             .
                                The Notice of Lis Pendens filed by Plaintiff an1 recorded in rhe public recor?: ofll-lJAMl-DADE     '
                                                                              I
          County, Florida, regardio~the below-described propeny:     '
                                                                     i
                                                .    .   .           I
                                     LOT 105, BISCAYNE GARDENS SECTION F PART I, ACCORDING TO
                                     THE PLAT THEREOF, AS RECORDED fN PLA I BOOK 44, PAGE 45, OF
                                     THE PUBLIC RECORDS OF MIAMI-DADE COUNTY; FLORIDA.


          be and same hereby is canceled, vacated, discharged and shall be of no further force or effect, . 1d the Clerk is hereby ,

          directed to record this Order to reflect same.

                    5.          The Final Summary Judgment heretofore enlered on August 09, '.2007, b<? and he same hereby is set

           aside and shall be of no further force or effect.

                     6.         The Plaintiff requests that th~ original Note and Mortgage be rerumed to     e Plaintiff and

           pho(ostntic copies shall be substituted in their place.

                    DONE AND ORDERED in Chambers in MIAJ\.11'..DADE County. Florida, t is                                         dat of

          - - - - - - - - - - · 2010.



                          JUN 2 3 2010

          Copies furnished to:                                                                          \i<AtERfE MANNO SCHURR
          Florida Default Law Group, P.L.                                                               c, CUIT COURT Jt!JOGE
          P.O. Box 25018
          Tampa. Florida 33622-50! 8
          All parties on the annched service list.
          F070121-18 - lvl0 l 0502
          G/'.IAC-CONV-alnven




lk 27343 Pg 950 CFN 20100451678 07/06/2010 15:32:32 Pg 2 of 3 Mia-Dade Cy, FL
        Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 18 of 58


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                                                                :1 i .~ JL:OICLAL cm.cllrrr 1N At"'i'D
                                                                • FOR DADE COL'~TYI.
                                                                I .              •
                                                                                     FLORIDA

                                                               GENER.AL JUFJSDiCTI )N DIVISION
                                                                           CASE NO: 200i•l240'7-cal


                US Bank ,N.A.                                       April 1.2010
                      Plaintiflts)

                Vs.

                Leroy Williams
                      • Defendant(s)


                          ORDER OF. [llSivfISSAL W1TH PREJ\,JDICE
                               .       _ ..." - ~ ~             I




                  This action was heard on the defendants motion to dismiss for lack of prosecution
                Served on April I L2008. The court finds that OD notice prescribed by le l.40 (e)
                Was served on Apri1 11.2008; (2) their was no record activity for the ye I preceding
                Service of th~ foregoing notice; (J) no stay bas b.een issued or approved l)Y the court
                And (4) no party has sbO\'-'Il good cause why this action should remain pinding.
                Accordingly, .                                    . .                 .   \         . .
                 IT IS .ORDERED Tbat thi~ action is Dismissed for lack of Prosecution 11.vitll PreJud1ce
                 DONE AND ORDERED in chambers, at Miami. dade county. Florida ,is 31th day of ;

                 March. 2010.                                   !             I (( ,- .I I  f() •
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                 Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 19 of 58




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                                                  FLORIDA DEFAULT iJAWGROUP, P.L.
                                                         ATTORNEYS~T LAW
                                                                                            •   •
                                                     9119 CORPORATE L.AKE DRIVE
                                                             3RDFLOOR
                                                        TAMPA, FLORIDA 33634
         Please reply to:                                                                                    elephone (813) 2S lrJ766
         Post Office Box 25018                                                                                Telefax (813) 251:-1S4I
         Tampa, FL 33622-5018                                                                            I
                                                                                                         '
                                                                                                                  -            '
                                                                                                                               '



                                                                July 20, 2010

         l:EROY WILLIAMS
         Isoio SOUTH RIVER DRIVE
         MIAMI, FL 33167       •

                   Re:
                             Loan Number:
                             Mortgage Servicer GMAC MORTGAGE,LLC
                             Creditor to whom U.S. BANK NATIONAL ASSOCIATION AS TRUSTEE FOR
                             the debt is owed: RASC 200SAHL3                      • I •



         bear Borrower.
                             Property Address: 15020 SOUTH RIVER DRJVE, MIAMI, FL 33167
                             Our File No.:

                                          )
                                               F1005tt60
                                                                                             •           j                     l


                                                                                                                                   0

                   The law firm of Florida Default Law Group. P.L. (hereinafter referred to as "law rm") has been retaif)ed to
         represent U.S. BANK NATIONAL ASSOCIATION AS TRUSTEE FOR RASC 2005;AHU3 with regards to it~
         interests in the promissory :Nole and Mortgage executed by LEROY WILLIAMS on June !Jo, 2005. Pursuant to
         lhe renns of the promis~ry Note and Mortgage, our clienl has ac~lerated all sums due an~ owing, which mea~
         that ihe entire principal balance and all other s_~s recoverable 1~mder the terms of the 1>rom ssory Note and  •
         Mortgage are now due.                              ••-           :

                 • As of the date of this letter, the amount owed to our client is $66!,289.01, whi~h includes the unpaid :
         princip'tll balance, accrued interest through today, late charges, and other default-related costs rec9verable under the
         t:rms ofthe_promissory Note and Mortgage.. Additional interest will accrue after the datejof this letter.          :

                  This correspondence is being sent to comply with the Fair Debt Collection Practices Acr and should n<,t be
         considered a payoff letter: Our"client may ma~e advances and incur fees and expenses after :the date of this lett~r
         w~ich are recoverable under the terms of the promissory Nole and Mortgage. Therefore, i_~ you wish to receiv*
         figures 10 reinstate (bring your loan current) or pay off your loan through a specific date, pllase concact this la~ finn
         at (813) 251-4 766 or client.services@defaultlawfl.com.                                                             ,
                                              I             •



                   Unless you notify this law fi~ within thirty (30) days after your receipt of this lener that the validity ~f
         this debt, or any ponion thereof, is disP.uted, this law firm will assume that the debt is valid.I If you do 11otify t1;1is
         law firm in writing within thirty (3()) days after receipt of this letter that the debt. or any po ion thereof, is disppted,


                                          •
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                       . IN THEC1RGmr COURT OF TH~ ELEVENTH J\.lDicl CIRCUIT IN
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                                                              ANDFOR           ~--·
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                                     MIAMI DADE COUNTY:1FLORIDA CIVIL AC ION


                        MAURiCE S~ONETTE                                            •

                        Plaintiff

                                                                                           CAS NO: 2021-
                                                                 10826-CA0l
                         v.
                        U.S. BMTJ(. NATIONAL ASSOCIATION,
                        AS TRUSTEE FOR RASC
          I
                        2005AAHL3, MERS, FRAN,KLYN
                        CREDIT MANAGEMENT CORP and
                        AXIOM FINANCiAL SERVICES

                        Defendants,



                                      MOTION AND AFFIDAVIT FOR RELIEF. RECUSAL,
                                      VACATION OF ORDERS AND MEMORANDUM OF
                                        '     •                 - -
                                                                LAW                 •                  l
                   . Pursuant to Fl~rida Stat. 112.131, Florida Rule 2.160 (H) and Federal ules of Civil
                    Procedure R~le 60, Plaintiff MAURICE SYMONETTE hereby files ➔s Motion for
                  · Relief & Recusal and Supporting Memorandum regarding the June. :25' 2010 Valerie
                                                  -               , ,                        --        I    -
                    Manno Schurr Preview of the record and Final Judgement Order, Exhibit.J because it
                    injured us. based on the following. facts, new information, just terms, ju~icial
                    misconduct, fraudulent grounds aiJd discovered conflict of personal in+sbnent
                    interests on Financial Disclosqres of Judges and officers qf this Court (iExhibits # B)
                    Attached- U.S. BANK Special Situati~·n Property Funds Account Page[42, IFRS 2018
                    Ta_bles 9-13, SEC Filings- U.S. BANK Florid~ Subsidiaries, Judge: Valbrie Manno_
                    Shurr Financial Interests & Property Disclo.sur~s). •


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  Maurice Syrnonette



     Rcpt. No: 11100                                                                                                                                                          Trans. Date: Jul 14, 2023 4:16PM                                                                                                                                                                                                               :Cashier ID: #EB

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    Comments: Filing Fees for new case# 23-CV-613i:s Wells et al v. U.S, Bank, National Associat·qn et I



   Checks and drafts are accepted subject to collection and full credit wil'I only be given ~vhen the che& or draft has been aC:Cepted by the
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                                          UNITED STATESiDISTRICT COURT
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                                          SOUTHERN DISTJUCT OF FLORIDA
    Angela E. Noble                                                                 4 0 North Miami Avenue. Room 8N09
    Court Administrator• Clerk of Court                                                       Miami, Floricfa 33128-77 j 6
                                                                                                          (305)523-5100
                                                                                                           i




                                                 Date: August 23, 2023




    Attn: Ovil Correspondence Clerk
    Clerk of Circuit and County Courts
    138 Dade County Courthouse
    73 West Flagler Street
    Miami, FL 33130


    RE: District Court Case No.: I:23-cv-22848-JEM
         State Court Case No.: 0 I0-61928;'.:CAOl




    Dear Sir/Madam:

    Pursuant to 28 U.S.C. § 1447, a certified copy of the District Court's Order ofRe1 and must be mai(ed to

    to the Clerk of the State Court.                                                 l . ·
    Please acknowledge rec:eipt of the Order in the above referenced case by signing nd retur:n_irig the enclosed

    copy of this letter.




    Angela E. Noble, Clerk of Court

    By Isl Nicole S Cubic
    Deputy Clerk
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     ~S44 (Rev, II/OS)                                                        C M L COVER.SHEET                                                                     \                                                     c x h _ , z. (_(

     The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the ·ming and service ofpleadings oriother papers as required by law except as provided
     by local rules of court. This form, approved by the Judicial Conference of the United States in Seotembcr 1974. is reau1red for the use of the Clerk of Court for the ~urpose of initiating
     the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)                  NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
                                                                                                                                                                    I
     I. (a)    P,-,AINTIFFS                                                                                     • DEFENDANTS                                        I
      MARY HAIR, as Putative Personal Representative of the Estate of
      SAMUEL HAIR, deceased
       (b) County of Residence of First Listed Plaintiff St. Lucie County
                                      (EXCEPT IN U.S. PLAINTIFF CASES)
                                                                                                                . LA WNWOOD MEDICAL CENTER, INC., a Tennessee Corp.,
                                                                                                            D ' d/blaLA WNWOOD P.EGI@NAL
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            Defendant



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     CJ 130 Miller Act                 CJ 3 IS Airplane Product                   Med, Malpractice
                                                                                                CJ 625 Drug Related Seizure                           28 USC \57                                         a 430 Banks and Banking
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     CJ ISO Recovery of Overpayment CJ 320 Assault, Libel &                      Product Liability
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     CJ 160 Stockholders• Suits        CJ 3S5 Motor Vehicle                  Property Damage           Act                                      CJ 862 Black L'/"g (923)                                 a 875 Cus1omer Challenge
     0 190 Other Contract                     Product Liability        CJ 385 Property Damage CJ 720 Labor/Mgmt. Relations                      CJ 863 DIWC/DIWW (40S(g))                                       12 use 3410
     CJ l95 Contract Product Liability CJ 360 Other Personal                 Product Liability  a 730 Labor/MgmtReporting                       CJ 864 SSID Title XVI                                    CJ 890 Other Starutory Actions
     0 196 Franchise                          lniurv                                                   &' Disclosure Act                        a 86s RSI r4osr.,,                                       CJ 891 Agricuhural Acts
 I         REAL PROPERTY                      CIVIL RIGHTS              PRISONER PETITIONS CJ 740 Railway Labor Act                                  FEDERAL TAX SUITS                                   CJ 892 Economic Stabilization Act
     CJ 210 Land Condemnation            CJ 441 Voting                 CJ 510 Motions to Vaca1c a 790 Other Labor Litigation                    CJ 870 Twces (1.,\-S, Plaintiff                          a 893 Environmental Matters
     CJ 220 Foreclosure                  CJ 442 Employment                   Sentence           a 791 Empl. Ret. Inc.                                 or Defendant)                                      t:I 894 Energy Allocation Acl
     CJ 230 Rent Lease & Ejcetment       CJ 443 Housins'                  Hobeu Corpus:                S~urity Acl                              CJ 871 IRS-Third Party                                   a 895 Freedom oflnfonnation
     a 240 Torts to Land                       Accommodations          a S30General                                                                   26USC7609                                                 Act
     CJ 24S Tort Produc1 Liability       a 444 Welfare                 a 535 Death Penalty                                                                                                               a 900Appeal of Fee Detemtinarion
     CJ 290 All Other Real Property      CJ 44S Amer. w/Disabilities • a S40 Mandamus & Other                                                                                                                   Under Equal Access
                                               Employmenl              a 550 Civil Rights                                                                                                                       to Justice
                                         CJ 446 Amer. w/Disabilities - CJ 555 Prison Condition                                                                                                           t:I 950 Constitutionality of
                                               Olher                                                      I                                                                                                     State Stalutes
                                         I! 440 Olher Civil Rights

     V, ORIGIN                 (Place an "X" in One Bo>( Only)                                                                                                                                                            APJ:al to District
                                                                                                                                         Transferred from
     01 Original           fl 2 Removed   from                D 3 Re-filed-                        □   4 Reinstated or D 5 another district                                 0 6 Multidistrict                  0 7 Ju ge from
                                                                                                                                                                                                                   Magistrate
            Proceeding          State Court                            (sec VI below)                     Reopened                       (specify)                                        Litigation                      Jud,,ment
                                                                         a) Re-filed Case O YES ~NO                                 b) Related Cases □ YES 17NO
     VI. RELATED/RE-FILED
                                                  (See insttuctions
     CASE(S).                                     second page):          JUDGE                                                                       DOCKET \
                                                                                                                                                     NUMBER
                                             Cite the U.S. Civil Stature under which you are filing 1md Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless

     VII. CAUSE OF
                                             diversity):                                     •                                                                                   I
                                              Claims by Plaintiff under 42 USC, 1983 (Excessive use of force by law enfoicement).
     ACTION

                                              LENGTH OF TRIAL via              4      days estimated (for both sides to try entire case)
     VIII. REQUESTED IN                       0 CHECK IF THIS IS A CLASS ACTION                              DEMANDS                                               CHECK YES only if demanded in complaint:
                                                                                                                                                                                 I
              COMPLAINT:                           UNDER F.R.C.P. 23                                                                                               JURVI DEMAND:                             [1J)Yes

     ABOVE INFORMATION IS TRUE & CORRECT TO                                    SIGNATURE OF ATTORNEY OF RECORD                                                                            DATE
     THE BEST OF MY KNOWLEDGE
                                                                                                                                                                                 \
                                                                                                                                                                                   April 14,2008
                                                                                                                              FO"JF)';.E/it)1NLY I
                                                                                                                          AMOUNT              W,
                                                                                                                                               RECEIPT II J . f i l l                                                 I     IFP
     Case 1:23-cv-22640-JEM
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                                                                                                                                                                                  Exh.25




                                                                                 U.S. District Court

                                                                               Florida Southern - Miami

MACKWELLS                                                                                                                                                       Receipt Date: Jul 3,1, 2_023 2:38PM



  Rcpt. No: 273148                                                                Trans. Date: Jul 31,\,2023 2:38PM                                                                     C~shier ID: #VT

  CD           Purpose                                                      Case/Party/Defendan~                                          Qty                              Price           i             Amt
......................................................................... ············································· ·············•··•·· ............................. , ........................ .
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  200          Civil Filing Fee- Non-Prisoner                                                                                                   1                        402.00                      402.00




 CD           Tender
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 CA           Cash
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                                                                                                                Total Due Prior to Payment;                                            $402.00
                                                                                                                                             .............. ·········· -~ ................. , ..
                                                                                                                                 Total Tendered:                                                   $402.00

                                                                                                                         Total Cash Received:
                                                                                                                                              •••••••••••••••••••••••••••••••••••·•••••·•·
                                                                                                                                                                                                   $402.00
                                                                                                                                                            ...............................................
                                                                                                                       Cash Change Amount:                                                            $0.00
Comments: Mack Wells/1:23-cv-22848-JEM



Checks and drafts are accepted subject to collection and full credit will onlk be given when the check or draft has been accepted by th~
financial institution on which it was drawn.                                  •                                              ·
Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 34 of 58
                                                                                 1111111111!1111111111111111111111ITT111~1UI'
                                                                                      CFN                r~:024i-t=;:o316231
   IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL                                      OR BK 34k95 pg 4105 (1Pss>     •
   CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA                                      REC □ RDEDjo4;24;2024 1s:oo:32
                                                                                      DfED DOC TAX $466.80
                                                                                      JUAN FERNANDEZ-BARQUIH
                                                                                      Cl
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                                                                                      l1IAr1I--·[)M)E COIJrlTY, FL




   U S Bank (na),
                                                                     GENERAL JURISDICTION DIVISION
   Plaintiff(s) / Petitioner(s)
                                                                     Case No:      20 10-061928-CA-01
    vs.                                                              Section:                         s7ction, CA 11
                                                                                                          1



   Williams, Leroy, , et al.                                         Doc Stamps:                      $466.80
   Defendant(s) / Respondents(s)                                     Surtax:                          $0~00
                                                                     Consideration:
                                                                                                      $71800.00

                                              CERTIFICATE OF TITLE
   The undersigned clerk of the court certifies that a Certificate of Sale was executed an filed in this action on
   October 19, 2023, for the property described herein and that no objections to the sale hbve been filed within the
   time all9wed for filing objections.
   The following property in Mipmi-Dade County, Florida:



                 LOT 105. BISCAYNE GARDENS SECTION "F" PART I, ACC I RDING TO THE
                 PLAT THEREOF; AS RECORDED IN PLAT BOOK 44t PAGE 46, OF THE PUBLIC
                 RECORDS OF MIAMI-DADE COUNTY, FLORIDA.
                     Property address: 15020 South River Drive. Miami. FL 33J 67


   was sold to:
   U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR RESIDENTIAL ASSET SEfURITIES
   CORPORATION, HOME EQUITY MORTGAGE ASSET-BACKED PASS-THROUGH C · RTIFICATES, SERIES
                                                                 l
   2005-AHL3 C/O PHH MORTGAGE CORPORATION
   1661 Worthington Road, Suite 100
   West Palm Beach, FL, 33409




                                                           Juan Femandez-Barquin, Clerk of the Court and Comptroller
                                                                             Miami-Dade coJnty, Florida
                                                                                                              I




Rev. 10/5/2009                                             1
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                                                                                             (2550x3300)




                     AXIOM FINANCIAL SERVICES,
                      10900 STONE LAKE BLVD SUITE 350
                     AUSTIN 12< 78759-5867
       >
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     • i
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                                                                                                                                                            i
                       Dec.1,2006

                     LEROY WILLIAMS
                     15020 SOUTH RIVER DRIVE
                     MIAMI FL 33167

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                       PAYMENT DESCRIPTION

                       Bank:                                          WACHOVIA BANK, NA
                       Bank Account Number':                          ******0274
                       Date of Transaction:                           Nov.30, 2006

                      Payable To:                                    AXION FINANCIAL SERVICES
                      Amount of Payment:                             $2286.67

                       Cµstomer Reference:                           0001920274

                      Dear LERQY WILLIAMS:

                      Based on your authorization during our telephone conversation at 9 315 A.M. Nov. 30,2006, we
                      have initiated an automated clearing house (ACH) debit to withdraw the amount desc~ibed
                      above from your specified bank account to make the payment that you requested. Included in
                      the payment amount is the $8.00 'service fee that you als~ authorized.

                      If you have questions, or wish to make corrections to the information listed above, pie se
                      contact Collection Department, at 188-832-7990.
                      Thank you for your business.
                                                                    AXIOM FINANCIAL SERVICES
                                                                    10900 STONE LAKE BLVDiSUITE 350
                                                                    AUSTIN TX 78759-5867



                                                                          Important Information
                    Don"t give out your bank account information over the phone unless you know the company and understand why the in ormation is nessary
                                  '                                      This is not a bill. Do not mail. payment.
                                                                             Retain this letter for your records.




    file:///Users/micahielnichloson/Pictures/Scan 377 Jpeg                                                                                                  1/1
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5/6/24,Case
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                   AXIOM -FINANCIAL SERVICES
                    10900 STONE LAKE BLVD s·UITE 350
                                                                                                                                     •         I                      •
                   AUST! N~-y·
                          TX 78759-5867 •                                                                                      PAYMENT SERVICES

                    Jan.1, 2006

                   LEROY WILLIAMS
                   15020 SOUTH RIVER DRIVE
                  MIAMI FL 33:J.Si

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                    PAYMENT DESCRIPTION

                   Bink::
                    ·f                                          WACHOVIA BANK, NA
                   Bank Account Number:                          ******0274
                   Date of Transctiom                           Dec.31, 2006.
                   Payaol1To:
                                                               AXION FINANCIAL SERVICES
                   Amount of Payment;                          $2286.67

                   CUstomer Reference:                         0001920274

                  Dear LEROY WILLIAMS:


                  Based on your authorization during our telephone convers~tion at 9:45 A.M. Dec.. 31,2~6. we
                  nave initiated an automated clearing house (ACH} debit to ~ithdraw the amount descrifed _
                  above from your specified bank account to make the payment that you requested. Included rn.
                  the payment amount ls th~ $8.00 'selV!ce fee that yooalso uthort,ed:            .  i                                         I
                  If you have questions, or wish to make corrections to the information hsted above, please
                  contact Collection Department, at 188-832-7990.
                  Thank you for your business.
                                                             AXIOM FINANCIAL SERVICES
                                                             10900 STONE LAKE BLVD.SUITE 350
                                                             AUSTIN TX 78759-5867




                                                                              lmpgrtant Information
               .Jon•t ,ilve QIIC vo11r bank iill:l1llllt
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                                             ••                  This is not a bill. Do not mm payment.
                                                                   Retain this letter for vour ,records.
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                                                                                   (2550x3300)




                 AXIOM FINANCIALSERVICES
                 10900 STONE LAKE BLVD SUITE 350
                 AUSTIN TI,< 78759-5867

                  Feb. 1, 2007

                 LEROY WILLIAMS
                 15020 SOUTH RIVER DRIVE
                 MIAMI Fl 331§?
                 r,JkuH111,llt!l"ulm!1(1lmm1rii11 !1 Is.. i1lHm i;i II i

                  PAYMENT DESCRIPTION


                  B~nk:                                     WACHOVIA BANK, NA
                  Bank Account Number:                       ******0274
                  Date of Transaction:                      Jan. 31, 2007

                  Payable To:                               AXION FINANCIAL SERVICES
                  Amount of Payment:                       $2286.67

                  Customer Reference:                      0001920274

                  Dear LEROY WILLIAMS:

                  Based on your authorization during our telephone conversation at 10:55 A.M. Jan.31,zpo1, we
                  have initiated an automated
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                                              clearing house (ACH) debit to withdraw the amount described
                                                                                                      I
                  above from your specified bank account to make the payment that you requested. lncl'uded in
                  the payment amount is the $8.00 'service fee that you als~ authorized.         •                                  I
                  If you have questions, or wish to make corrections to the ihformation listed above, pie se
                  contact Collection Department, at 188-832-7990.            I
                                                                             1
                  Thank V9CJ for your business.
                                                           AXIOM FINANCIAL SERVICES
                                                           10900 STONE LAKE BLVD·.SUITE 350
                                                           AUSTIN TX 78759-5867



                                                                        Important Information   ,
                . Oon"t give out your bank account information over the phone unless you know th'e company and understand why the information is nessary
                                             •••                This js not a bill. Do not mail. payment.
                                                                  Retain this letter for your records.




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                     .-".XIOM FiNANCIAL SERVICES
                      10900 STONE LAKE BLVD SUITE 350                                                                                               •       I
                     AUSTIN TX 78759-5867                                                                                                                PAYMENT SERVICES

                     \·ia,c~ 1, 2007

                     L::ROYWILLIAMS
                     15020 SOUTH RIVER DRIVE
                     MIAMI FL 33167
                     r
                     11llmll111111.1111! 111L11 llli:111 ,ii,,!, l,,, I,I! 11, 1!,i II;


                      ~AYMENT DESCRIPTION


                      Bank:                                              WACHOVIA BANK, NA
                      Bank'Account Number:                               ******0274
                      Date of Transaction:                               Feb. 28,, 2007

                      Payable To:                                       AXION FINANCIAL SERVICES
                     Amount of Payment:                                 $2286.6?

                     Customer Reference:                                0001920274

                     Dear LEROY WILLIAMS:


                      Based on your authorization during our telephone conversation at 10:Q0 A.M., t=eb.2 ,2007, we
                    • have initiated an automated clearing house (ACH) debit to withdraw the amount destribed
                     ab1Jve from your specified bank account to make the payment that you reqt.:ested. lric!uded in
                     the payment amount ;, the $8.00 'sendce fee that you a  a uthoc;,ed.                      'f"                                          I
                 • • If you have questions, or wish to make corrections to thJ information listed above, please
                     contact Collection Department, at 188-832-7990.
                     Thank you for your business.
                                                                      AXIOM FINANCIAL SERVICES
                                                                      10900 STONE LAKE BLVD.SUITE 350
                                                                      AUSTIN TX 78759-5867




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                  Don"t give out your bank account information over the ~hone u:iiess vou K""law ~ile :omoa::·':' 3n::; t.:n.:Jersta:ic ·.:. ;-:y -.:;,e 1 .fc:-.-:-ia:1or. :s nessa~
                                                                           This is not a bill. Do not mail. pa)menr.
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                 •don't believe that!, I nevet signed t 18tl-
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                                                     MAURICE SYMONETTE                                                  . ,
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                                                      15020 S. RIVER DR.
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                                                      ott FI.Bill87 says thatyou can no Iongerget
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      yourhouse back you can only get m oney and the reason forthatis because the Black code and
      JimCrowIawsaysSlavescannotown property becauseTrexstaythe busi1
                                                                    nesspartnersto Judge
      CarlosLopez along w ith the Iiv act Iaw ofGov.Disantis has relaxed aIIC'I  1
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      thatdo and don'tallow apartm ent buildingsw here ourproperty is located I
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      whooferedtobuyourpropertybutwewoul
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      thatwehavetheJudgesinourbackpocketandwewillgetthispropertysjotàeywanttogiveus
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      M astersm ustbe putto death Exodus21:16

      W hatissigni
                 ficanthere isthatthe Defendantshad two (2)actions pending in federalcourt
      based on the rem ovalofthis instant action.One tthat w as filed in How ever, the federalcourt
                                                      '                     j
      withthewrong case numberthatreads23-CV-22à48thatMauriceSymlnette and MackW ells
                                                      ,

                                                      :
      did not authorize ordo ofwhich the Judge's Séiretary forJUDGE JOSE E.MARTINEZ would
      have never given that wrong Case number and we clearly see thatit1
                                                                       he signature is totally

      differentfrom aIlthe orderssigned byJudgeJOSt E.MARTINEZ,see kemand with thewrong
                                                                            1
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      casenumberthatreads23-CV-22848dated08/23/23ofwhichtheJudgesSecretary orJUDGE
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      JOSE E.M ARTINEZ w ould have never have put the w rong Case no.w e ask that the JUDGE'S
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      signature be checked w ith a hand w riting Expertfor forging a Judge's REM AND O RDER IN THE

      FAKE CASE W ITH CASE# 23-cv-22848, Exh.5. Page 1-2.And see:JUDGE JOSE E.M ARTINEZ'S
      signatureinthecorrectcase num ber23-CV-22640-JEM w herein he asked1forourproofofour


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Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 42 of 58

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  FederalJurisdidion.Hissignature istotally different,Thatisthe same signature asthe Orderto
                                                  '
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  show Jurisdiction,Exh.6.Page 1-2,aIlthese other0, rdersarethe sam e signa
                                                                        ' turesasthe corred
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  case w ith Judge M artinez asking forJurisdiction E'
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                                                                         ,Exh.8.page 1-2,Exh.
                                                  '

                                                                !
  9.Page 1-2.So you canseethatJUDGEJOSEE.M/RTINEZ'Ssignature isclearlyforged



                        JudicialSale Conducted W ithoutJurisdiction

       The federalrem ovalstatute provides that once a copy ofthe notice ofremovalis filed in

  state court,''
               the State courtshallproceed no furtherunless and untilthe case is rem anded.''28

  U.S.C.j 1446(d);seeGeneralElectricCreditCorp.v.Smith,484So.2d 75,76 (FIa.2d DCA 1986)9

  Weiserv.Bierbrouwenj,B.V.
                          ,430So.2d986,9871
                                          '
                                           (Fla.3dDcA1983)9RutasAereasNacionales,
  SA.v.Cauley& M lrlïnzInc.,ï60So.2d 168,169 (FIa.3d DCA),cert.denit
   .
                                                  .

                                                                   ed,166So.2d753 (FIa.
                                                                   d
                                                  i
  1964).The federalremovalstatute providesthatkpon entryofan orderofRemand,11the State
                                                  7

  courtmay thereupon proceed with such case.''28 U.S.C j 1447(c).See generally Wilson v.

  Sandstrom,317 So.2d 732,740-41(FIa.1975)(effed on state courtjurisdictionwhere case is

  remanded),cert.denied sub nom.Alderv.Sandstrom,423*U.S.1053'
                                                             ,46 L.Ed.2d 642,96S.Ct.

  782 (1976).From theviewpointofthe state couk,
                                              l
                                                the removalstatutegivesthestate courta

  cleardemarcationofwhenstatecourtjurisdidionceases,andwhen(ifever)thestatecourtmay


  resumejurisdiction.Underthestatute,statecourtjuri
                                                  sdi
                                                    dionceaseswhI
                                                                enacopyofthenotice
  ofremovalisfiled inthestatecourt.28 U.S.C.j1446(d),oratbestissuspended.Itisabundantly

  clearthattheface ofthe pleadingfiled into the record oftheCourtfive
Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 43 of 58




  (5)separatetimeson Oct.13,2023,ID.E.387,389,390,391and 392),and again on Oct.15,
                                                  I
  2023 ontwo (2)more occasions,ID.E.395 and j971,gave clearnotice ofthe removalofthe

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  the instant action at that tim e. Because they Deliberately confused us.This State Court is

  precluded by federallaw,based on the application ofthe autom atic stay:
                                                                        Federalcode 28 U.S.SS

  1446 (D),from allowingthesaleto proceedforwardinthisinstance.ThisCourthasno discretion
  in this matter when it com esto the removalstatute and its effect on the jurisdiction ofthis
  Court.

      The Third District,whose decisions are utterly binding on this Court stated, in Garcia v.
  D                                               1                    I          .
   eutscheBankNat'
                 lTrustCo.
                         ,259So.3d201,202(FI
                                           a.3DCA20I
                                                   18),thatStatecourt
  jurisdiction ceasesupon removalofa case to feder
                                               I alcourtand anvpre-remand proceedinqs
                                                  -



  occurrinq in the stute coud a#erthe casehasbeen removed ure void''

  (citing Musa v.WellsFargo Del.Tr.Co.,181 So.3d 1275,1277 (FIa.1stDCA 2015))(emphasis

  added).Butitdoesnotendthere.Evenmoretellingastotheeffectofaon acourt'sjurisdiction

  iswhattheThird Districtstatedfollowingthatwhièhwas''lilnadetailed review ofthelaw inthis
                                                  '
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  area,



   the FirstDistrictconcluded that even an im properrem ovulto federalcoun,or a rem ovulfor

  im properm otives.willnot




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    Case 1:23-cv-22640-JEM
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      presea e stnte couf Iurisdiaion.''Id.at1280-84;lsee also Cole v.W ells Fargo Bank Nat
                                      .
                                                                                             yAssln ,



      201So.3d749,750(FIa.5thDCA2016).                 i
                                                       ;


          Even the FederalEleventh Circuit Court of Appeals took this position in the sem inal case
      MasedavHonda M otorCo.,861 F.2d 1248 (11th Cir.1988)(''SinceSteams
                  .
                                                                         '
                                                                              t hip Co.v.Tugman,
      106U    .
                                                       .

                                                                              j
             S.118,1S.Ct.58,27L.Ed.87(1882)wasdeci        ded,theremovalst    !atute28U. S.C.j1446
      w as am ended. Under the am endm ent, the filing of a rem oval petition term inates the state
                                                       :

      court'sjurisdiction untilthe case isrem anded,even in 5 case dm propezfgjrem oved.(rjyjs,gewe
      v.Jacobs,243F.2d432,433(5thCir.lllemphasis-added).

         M ore dam aging to this m atteristhe fact thatthis Courthas proceeding in this m atterw hile

      thisCourtIackedsubjectmatterjurisdictionuponihefilingoftheNoticeonOct.13,2023.There
      isevenanargumentthattheCourtdidnothave jurisdiction underthelsecond filed rem oval
                                                  i        .

-     undercase 23-CV-22640-JEM sincethefilingoftlatcase.A carefulexaminatlon ofthatcase's
.


      docketinthefederal
                       ,courtclearly show sthatthe1
                                                  im atterhasnot been j
                                                                      dism issed or otherwise
                                                       J'
      remanded.The docketclearly reflectsthatentw'
                                                 l#4 showsthe notice ofremovalfiled in this
      Courtisthesameonefiled inthatcourt'srecorlT                )al,.
                                                s.Thenoticeofremok   whichshould have
      beenfil
            edinthisactionwasmistakenlyfiled intqa'tcourtinstead.Under
                             ,                         '
                                                                    1the removalstatute,
      therem ovalisnoteffective untilfiled inthe statecourtaction Granted,tj
                                                       -


                                                                  .        he notice w as notfiled

      here when the action w asfiled in federalcourt.Butthe federallaw isclear,
                                                                             1'lplromptlyafterthe
      filing ofsuch notice of rem ovalof a civilaction the defendant ordefendants shallgive w ritten

      noticethereofto aIIadverse partiesand shallfile a'
                                                       :
                                                       copyofthenoticewiththe clerkofsuch State

      courtwhichshalle//ecttherem ovaland theStatecotzrlshallproceed no l
          ,                                                             furtherunlessand until




                                          *
                                                  .
Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 45 of 58
                                                 t                    '
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   thecaseisremanded.''28U.S.C.j1446(d).Inthisi                   $ticeofrem ovalon Oct.
                                              Lase,thefilingoftheno         -

                                                i
   13, 2023 instituted the automaticstay,based on rlem oval,undercase num ber23-CV-22640-JEM

   in federalcourt.
                                                (
                                                :
                                                '
                                                '   ,




1. Accordingly,any action taken bythe courtafterthe notice ofrem ovalfil1
                                                                        ed bytheDefendanton
   Oct13,2023,includingtheconductofthejudicialsale,lsFOIDDUETO THEJ
      .
                                                                i URISDICTION OFTHIS
  COURTBEINGJtJJPENDEDHere,the sale itselfw as allow ed to procleed even afterthe
                         .



  noticeofremovalwasfi    ledi nthisaction                   l
                                          o n Oct.13, 202
                                                        3 . Dl
                                                             ue to an ade l
                                                                          iber
                                                                             at
  attem pt by the Clerk of the Courtto keep the FederalNotice of Rem ovaloffthe

  Docket files and then claim ignorance sp that they could Foreclose and get it
                                                i
  closerto the changing ofthe Title ifw e câtch on to theirconspiring insidersw ho

  woul
     dbeworki
            ngwi
               ththemtostealtheProperty undercolorl
                                                  ofLaw .the property

  w as allow ed to go to sale despite a notice of rem ovalfiled prior to the sale. US

  Bank Lawyerstold Judge Eig thatwe did noi
                                          thave a new NOTICE OF REM OVALand
                                                i
  thatthe new FederalNoticeofRemovalwar                1
                                      sjusta FederalCom'plaintwhich isa lie
                                       t               l
  becausethe casewasfiled 07/14/23 when'
                                       thatJudgesaw the Amended Noticeof
  Rem ovaland Com plaint the Judge didn't Rem and w ith the case # 23-CV-22640-

  JEM but w as put in into Ft. Lauderdale the w rong Division but w ent to Federal
                                                '



  JudgeMarti  neztoDadeCountyFederalCourtH                     ,
                                                               j
                                                  ousefromBrow lardfil
                                                                     ed07/14/23
  that w as sent to M iam ion JurisdictionalG rounds because the Case w as filed in



                                                                     !


                                                                     l
        Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 46 of 58
                                                       j                                        '
                                                       j'
'
              Brow ard County the w rong County Division
                                                       j because Dade County is the Correct

              Federal Division w here the Case happenqdlbut at the sam !
                                                                       e tim e the Federal
              Causesw ere unclearso Idid a FederalAm qnded
                                                      1
                                                      ! Notice ofRem-jovaland Com plaint
                                                       !                :
              thatIisted mostofthe FederalJurisdiction,Exh. (AA.)and thentheJudgeasked us
                                                       F
              to Show Cause as to w hy he should not Rem and our case an'
                                                                         l
                                                                        d w e answ ered and
                                                       :
                                                       l
              show ed m ostly aII the Federal Jurisdiction, Exh. BB. and the Case w as not

              Remanded.And the Judge gave them til e to Answer Notice of Rem ovaland
          .



              Compl
                  ai
                   ntthey m issed the Deadline but qam e back and answ!ered the Notice of
                                                       :
                                                                         I
              Rem oval and Com plaint also m entioning the Notice of Rem oval w ith the

              Complaintso USBANKLawyersnew thiswasaNOFICE OF REM O VAL,Exh.(CC.)
                                                       '


              andnotjustaComplaint Iike they Lied to Judge EIG,sayijng
                 .
                                                       .
                                                                    j''this was just a
              Complaint'',onthe FederalDocketCase 23-iCV-22640-JEM on 12
                                                       -              1/06/23,12/08/23,
              01/02/24 ,01/05/24 and 01/26/24 US BANK says this is a Motion to Dismiss
              Remand our Notice of Removaland CoMplaint which started 07/14/23 and

              Noticed to the Circuit Court,Judge and US BANK Lawyers because even though

          they knew there w as a FederalStay from a Notice of Rem ovaland Com plaint the

              Law less Judge Carlos Lopez and US BANK Law yersthey continued to Prosecute the
'


    -     Fake Foreclosure Case and Sale to m ake us Iose Title to the j
                                                                       House know ing that

          FloridqBILL87savsevenpfitisawronqfulForeclosurevouc
                                                            1an-,.e,,,euouse
                                              l
Case 1:23-cv-22640-JEM Document 46 Enteredion FLSD Docket 05/07/2024 Page 47 of 58

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  back vou clp onlv qet M onev Reim bursem ent because thev Jre doinq the Jim
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  crow l/w und the K lck Code of the S/cveri
                                           'y south which slv, ''Niqqerscan'tout -   -   -




                                                                  1
  ri htOwn Propertv,Exh.DD.in Violation of the 14thAm endm entand the Bible
  A

  Exodus12:49 which slvs,''EquulRiqhtsJn*thereshl/lbe oneLaw foraII''. They

  justwantto change the Title outournames so thatthey can illegally declare our
                                              i
  House an unsafe Structure and confiscate ihe HOUSE to Evictus Iike they tried to

  do illegally w hen the w hole County participate in fake M urderscene at our house

  used to Confiscate our Property but got caught and they gave the house back the

  sam e Day see :Godsz.com Video H.So the County has no Jurisdiction this Case
                                              -
                                                                  1
  which isStayed byJUDGE M artinezbecausk itisstillin FederalCourtunderFederal

  Jurisdiction in Judge Martinez's Court Uho must save U.S. Sovereignty and
                                              '                   (
  Jurisdiction and not allow Florida to take it.For it is obviously FederalJurisdiction

  acknow ledged on the FederalDocket So therefore the NOTICE O F REM OVAL has
                                                                1
                                                                .
  not been Rem anded.There w as also a Bankruptcy filed 4 days before the Sale that
                                                               1
  stops the Sale butthey continued on anyw ay even w ith Certified Copy in Violaton
                                                            I
  of Federalrule 362 ofthe Bankruptcy Code autom atic Stay,Exh.A.and the Notice
                                                            1
  of Rem ovalfled from the FederalCourt on the County CourtFiled October12th E-
                                                                  1
  fled Oct 13th,14th and 16th Exh.CC.and on Oct.16th And the Clerk of the Court
              '
  w ould not allow the Notice ofRem ovalnorthe Bankruptcy to '
                                                                  j
                                                             show on the Docket
                                                 t                       '
      Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 48 of 58
                                                 I
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                                                 I
        w hen we broughtthe Docum ents in person orw hen w e E-fled the Docum ents to
        the Docket itjustsaid Pending so thatthe1
                                                ,Judge would not1         '
                                                                Cancelthe Sale and
                                                 l
        now afterthe Sale the Documents shows on the Docket and in the right Filings

        from October 12th to Oct.16th Exh.EE.but only afterw e show ed the Supervisor
                                                                     l
        ofthe Docketfling Dept.thatwe Video Tqped and showed erthe whole filing
        transaction and w e also video taped her ieeing the Video and seeing the Video

        then She adm itted w e w ere Right and putthe Notice ofRem ovaland Bankruptcy

        ontheDocketwi
                    ththeCorrectDatesthatwasbeforetheSal
                                                       ethatal
                                                             soStopped
        theSal
             eorsh                                     1
                      oul
                        dhavestopped(STAYEDTHESALE)and1
                                                      wegaveNoti
                                                               ceof
        Rem ovaland Bankruptcy to the Judge directly and acknowledged it on Video in

        front ofW itnesses but w ould not STO P THE SALE according to the Law even after
...                                              .                   E
        adm itting on his FO RM 6 FINANCIAL AFFIDAVIT that he m ade a Iiteralzm illion
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                                                                 ,


        CASH from Us BANK butwould notReèuse himself,Exh.FF.Wow completely
                                                 l
        Law less,see Godsz.com Video num ber 1G-18.2.W e asked the Clerk forthe Pay
                                                                     I
        Offand she would give itto usbecause w e were notLeroy W illiam sthè Borrow er

        even though M ack W ells w ho asked herforthe Pay Offis Iisted asa Defendantand    '

        then she lied and would notallow usto file Bankruptcy orthe Notice ofRem oval

        on the tw elfth floorw here everybody else does itthatactually Video Taped this
        andwhileshewasunnecessarily w alking m e som e brothersandlM ackW ellsw ho's
    Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 49 of 58
                                                         I                                       .
                                                         I
-
                                                         :



      Cripple in a walker across the street to i(he Courthouse to file the Bankruptcy
                                                     .




      Notice of Rem oval.                                ,

      W e filed a FedesalNotice of Rem ovalJuly 14th 2023 in Ft. Lauderdale under case# 23-cv-61345
      labeledMauriceSymonetteandMackW ells Notice ofRem ovalExh.1A and , IB w ith the receipt
                                                                       1
      sayingthatthisCaseistheWrongVenue in Ft.Lauderdale andw illbe sentIto DadeCounty w ith
      a new Case# 23-cv-22640-1EM 28 U.S. Code SS'
                                                 , 1446 and 1441 says onl
                                                                        y Defendants can
                                                                            E           .

      Rem ove a State Court Case to FederalCourtso w hen w e filed in the w rong venue by m istake

      and theysentourcase to Dade county wherethe Case Originated which wasthe rightDivision

      under Case# 23-cv-22640-2EM wherein Judge M artinez asked us to prove why we had
      Juri
         sdi
           ctionfiled on the DocketAugust3rd,2023 August 7th 2023 we l
                   ,                                     .       ,   filed ourJurisdictional
      Memorandum,on 11/08/23 DefendantU.S.Bankbeganto respondto our  .
                                                                     1
                                                                     ' Notice ofRemoval
      andComplaintanduntisthi sdaywehavebeen in FederalRem ovalandthey
                                                                     1 have notansw ered
      but during the interim Judge Carlos Lopez tried lo sellthe house while we had a Notice of
                                                                            '
                                                         (
      RemovalandthenhestoppedtheSaleoftheHouse afterw e Pointed outl
               '
                                                         ,

                                                                   jto him the Notice of
i
      Removalandthenw e noticed thatUSBANKw ascon! tinuingthe Foreclosurj
                                                                       'e
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                                                         I
p                             LAW YERS FO RGIN G JU DG E'S O RDERS
      Bec
        -
         ause thev snuck J Fake Forqed Rem and O rderbv us thl' hud the a siqnuture
'     that's obviouslv notJudqe Jose E.M aefnez's siqnature see Exhj
                   -
                                                                  '
                                                                  ' 5.As com pared
                                                                                .   -




      tohissiqnature on our new case# 23-cv-22640-JEM wherei1n Judqe M crt/pez
               -

                                                         ;

      usked us to prove FederalJurisdiction see Judqe M lf /neze': siqnature, Exh.6.

j    And three-othercasesofludqe M lrt/pez'ssiqnuture.M artfn M.Oqm n,Exh.7.,               --




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                                         t:
                                         r-on FLSD Docket 05/07/2024 Page 50 of 58
Case 1:23-cv-22640-JEM Document 46 Entered
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  s                                                 1-
       m ith Jr.v citv of M ium i,Exh.8-1 @nd #-2 und the United A lêes ofAm eïica F.        - -   -

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  Davis Exh.9-1.AIIof these siqnatures Jr
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  end of the E ct the bottom qoinq up with J period the line on the M slunts
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  t                                      k
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   owurds the JeA,the m iddle initialE doesp tIook JtuIIIike the M iddle initialE
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  on the othertrue siqnutures.Exh .6.an# iihasno period Jp# the /m artJhus the

  A with no R Iike the oriqinal, Exh. 6. with the rest of the alphabets Ieaninq

  towards the riqht. And the Jlphe et F does not hlve a straiqht Iine slanted

  dqwn Iike the restof the Ts on his correci,siqnatures,%he A ke T has @ hook on
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  the le# the oriqinaldoesnothave the hook  i and does nothave the incursive E or
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  the lonq Z at %he end of his num e so kherefore this Is nok Judqe M art/nez's
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  siqnuture apd afake orden                         ë

  Like Judge ValerieM anno Schurrsaid in herhearing with usthatshe did notsign that Orderand

  w hispered to the Attorneysasking in a w hisper''W hy did you sign those O rdersfor, m e Idid not
               '


                                                                 lzhelloz'zzo H,nothing,z
  tellyou to sign that Order''and lasked herw hatd'id you say and she said

  shesaidHELLObecauseshedi
                         dn'
                           trealize thatw e could hearherm istakenl
                                                                 1y unm uted M IC,see:
Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 51 of 58
                                                                                              #v




  Godsz.com video#1,Andheararetheaffidavitsqt
                                            !
                                              thewitnessestoherwhispering,Exh.29and

  Exh.30.ThisshowstheirCollusion.Then Itold heraboutthe ORDER she'so called signed and she
                                                  ,



                                                                       l
  said Idid notsignthoseOrders thatwas(Judge)iveronicaDiaz,Godsz.com,andthenIshowed
  hertheOrderswithherForgedsignature,Exh.101                 I
                                           qnd 11.andshewasshock
                                                             ' ed and Ishowed her

  herown FORM 6 Affidavitforthe State ofFloridathatshowed thatshe had aterrible Conflictof

  interest because of the fact that she made 995/000 + 440,000 and overtime she made 11,

  M illion from GM AC, Exh.12.the Servicerfor U.S., Bank, Exh.13.and the next day she Recused
  herself,Exh.15.and REVERTED the Case backto$1lbeing Dismissed with Prejudice,Exh.17.And
                                                  1
                                                  2
  accordingto Florida Rule 2.160 (H-J)the originalOrderofourtrue Judge SarahZabel,Exh.17.
                                                 1
  and three Affidavitsofwitnessesthatsaw Judge'Zabelsignthe Dismissalwith Prejudice dated

  04/06/09,Exh.14.1-2-3 puton the Docket04/07/09,Exh.18.and she signed ourcopy as a
  receipt for us,Exh.17.And so w e know thatthe US BANK Lawyers Forged Judge Valerie M anno

  Schurr'sOrder,Exh.20.And Iknow thatJudge Jpse E.M artinez signature be on that Remand
                                                  I
  Orderdated08/23/2023ontheCase23cv-22848
                                       i w hen m y Case num ber w as Case# 23-cv-
                                          -




  22640-JEM that cam e from m y filing in Ft.Lauderdale under Case# 23-cv-61345 in the w rong

  Division and Im m ediately transferred to Dade County the Corred Division w ith the new Case#
                                                  /
                                                  '
  23-cv-22640-JEM because we had already filed a'
                                                (kotice ofRemovalthe w rong way in County
                                                 .5



  Courtw ithout even filing in FederalCourtin Dade County Docket Case# 2010-61928-CA01 Date

  06/19/23.Andwhen IdiscoveredIwasdoingitthewrongwayIstartedpverandfiledin Federal

  Court07/14/23 in the wrong Division ofFt Lauderdale thatwastransferred to Dade County
                                                  k
  Case# 23-cv-22640-JEM . But US BANK Lawyersltook advantage of us not knowing how to
                                                                       1
  operate and anotherNotice of Rem ovalw as filed in US BANK'S nam e that w as supposed to be
          j
                                 .              j
                                                ;
Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 52 of 58
                                                !
               .
                                                1
                                                l
                                               1)                                          .
  anotherNoticeofRemovalwith aIIthe FederalJur'lsdid ion in itby M aurice Symonette and M ack
                                                ,
  w ells caseg 23-cv-226404EM but was Filed as i new Notice of Rem ov
                                                                      !
                                                                    lalfiled by U.S.BANK
                                                !
                                                -
  NationalAssociation Case# 23-cv-22848-JEM and then filed on the sa'
                                                                     l
                                                                    m e day as a Notice of
                                                                     I
  Removalon the Dade county nocketcase# 2q1o-61928-cA01 Dated 07/31/23.Butin the
                                                !'                   ,
                                                                      j
  corred Case# 23-cv-22640-1EM,Judge MartinezQrdered usto show Jurisdiction08/03/23,but
  i                                             .

                                                                  I
  n theCase 23-cv-22848 ofthe U.S.BANK NA Notiqe ofRemovalthey Rem anded thenew Federal
                                                i
  CasewiththewrongCase#Case23-cv-22848withaludge'sForgedsigna
                                                            Iture08/23/23whilein
                                                                     I
  the corred M aurice Sym onette and M ack W ells Case# 23-cv-22640-JEM U.S.BANK NA ET AL is
  grantedanExtensionofTi  metoanswerourNoti    ceofRemovalandCom1    plaint01/11/35So the
                                                                                     .



  correctNotice of Rem ovalCase w ith Case# 23-cv-22640-JEM is stillongoi
                                                                     l ng.And w as never
  supposed to be Foreclosed on and hasneverbeen Rem anded.
                                                '


  THEY&&fD MYIGNORANCETO TRICKMEU&NG M Y W RON GFULLjF FILED NOTICE OF
  REMOVALTHATIFILED IN STA TE COUST W ITHOUT
                                          i FILING IN THE FEDERAL
                                                -            1 CO U#T BECAUSE
  THAT'
      SWHEREITHOUGHTlI    SAJSUPPOSED TO'FILE IT IN CA&f# 2010-
                                                             j 61928-CA01 EHLED
  06/19/23AND THEJ&DGfNEVER RESPONDED T; lT.THEN I>A&TOLD BYA FRIEND THATI
  HADTOFILE IT IN FEDERAL COURT FIPST.sO !                   1
                                         W E FILED A N OTICE OF REM O VAL FOR M E

  MAURICESYMONEHEANDMACKWELLSCASE#23-
                                    cV-
                                      226404EM1t
                                               xFEozaAzcoun
  07/14/23THENJUDGEJosEMARTINEZ ASKED FoR PROOF OFJURISDIICTION,08/03/23 W E
  GAFETHEJURISDICTION M EM ORANDOM 08/07/23.AND I FILED ANOT l HER CORREG ED
  NOTICfOFREMOVALTO FIX THE FIM T BECA USE:lW A&ADDING Af1 OFlTHE FEDERALPROOF
  THATTHI SCASEHAsFEDERALJ&S5DJW lO& 07/31/231AND THIS 5 WlHERE THE U.S.BANK
                                                                     1
  zA- - s vmcxzo us. H o w ? sscAgs: u.s.sAxs's u wvzas szEo sr As A . .             us
                                             !
Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 53 of 58

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                                             -
                                             !



  BANK N.A.NOTICE OF REM OVALelrsANEw cAsE&&MsE,acAsE2a-cM-
                                             i
                                             '                    (
  22#4# BY GIVEN A FAKE RECEIPT OF 402.00. Exh. 22. W ITH NO BLUE W PED CASE INFO
  wmvEN AcaossrssropoFTHEoocgv ENr,Ltr                I
                                     KEALLorsEa FEOERALoocgv - rsHAVE,
  sorsAr,wouLos:ralcsEo wro rswxws i)ss .Asrs:coaazc. ) cAs:Axo rszx ,r
  > AJ M IS                                  !
          TAKENLY FILED IN THE STATE CASE# 2010-61928-CA01 AND FlffD ON THE SAM E DA Y
                                             '



  lFILEDIN ITIN FEDERAL COUSTAJTHE&TATECDURT07/31/23.50 THAT
                                                                  I
                                                          ' THEYCOULD HIDE   -



  THEIRFRAUDULENT AW ION& THEN THEY FORGED A REM AND ORDER1BACK TO THE STATE
              -




                                                                  l
  couRn 08/2:/2: uslNG THE VERY SAME VERBAGE A& THE ORDER REQUIRING                 -




  BRIEFING CONCERNING THIS COURTS JURISDICTION, 08/03/23 EXCEPT
  ATTHEENDOFTHE M ST TW O PARAGRAPHS OF EACH OF THE ORDEM
                                                     l . ONE SAYING
  JVRISDICTION AND THE OTHER SAYING REM ANX so THAT THEF COULD CONTINUE THE
  -




  PROCEM %FHEALINGOURHOMEINJFAFF CDURTBYFORECLOSINGlON THE HOUSE SF
  CLAIMINGTHATTHERE>ASTWO NOTICESOFàE;'MOVALSAND THATj    THEHRSTCM E >A<           -



  REMANDEDALREADYANDTHEYKNEW WE W OULD THINK THAT THE #llS<F CM E W OULD BE
  THECASEIHLEDINTHESTATECOUSFcAsE#2032r61928-cA01 06/19/2I3 OR EVEN THE FIRST
  CMETOBEREMANDEX cAsE#23CV-22848 THAT NEVER REALLY EKlJSTED.AND YET THE
                                  -



  ORIGINALNOTICEOFREMOVALcAsE# 23-CV-226404EM AND IsSTIL1
                              ,                         LONGOING AND HM
  NEVERBEENREMANDEDANDIsSTILLAG IVELY OPERATING IN REM O ( VAL M ODE, CM E# 2+
  CV226404EM , YET W E HA VE THEM DOING FORECLOSURE SALES OaJfcFl
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  THEYALONGWITHTHECLERKOFTHECOURTSPl
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                                                   1ALLYBYSAYINGWE
  DIDN'T OSJECF W ITHIN TEN DAYS W HICH Is AN A8<O1&Ff LIE G E OBJECTED BECAUSE W E
    Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 54 of 58

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      HAoAN oslzcï.lox IfEAAING ro volo rs: sAi;z aEcAgs: or ouR Nopc
                                                                 I : or aEvovAz
      STAYCASE#201061928CA01 BUT THEYAREJ&&,rF BREAKIN G EVERY RULE
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      OUR EM ERGENCY M OTION TO VOID SALE W ITH OUR ANSW ER TO W FENDANFY M OTION TO
      DlsM tss N ITH PREJUDICE.NOW AIN'T THATAM AZING IT W OULD W ORK1FOR THEM BUT NOT
         -




      &&sy vEs THIS IsA DAM NED SSAM F AND DON'T W ORRY THESE M e fkiARE PROTEC ING

      $HE JUDGE BF GIVING HlM OR HER PLAUSIX E DENIABILIW BF SIGNING (FORGING THEIR
                                                                                 -



      SIGNATURM)FORTHEMANDJ&&TTAKEPROPERW LIKE OURS W ITHOUTjEVER SHO W ING THE
      ALLONGE OR THE AMIGNMENT OR ANY PROOF THAT THEY OW1N THE ANW HINGI
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      EVENTHOUGHWENEVERMI
                        MEDAPAYMENT,Exh.28.1-5.ONTHE1asm,voarcAs:Bv
      USINGTHEFAKENOTICEOF REM O VAL CASE W ITH FORGED ORDERS,GI!VING FAKE RECEIPTS
      WITHNOBLUEWPEDCAJEINFOI      SRITTENACRl OM THETOP OF FSEI1DO CUM ENT. Exh.22.
      LIKEALLDOCM ENTAND RECEIPTS ON FED CASESp-ON THE DOCKET,Exh.!
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                                               ,
                                                                  i
                                                                  123.24 AND 25.VFAKE
      REMANDIETTES;MAILED TO STATE COURT WVH NO COMPLETED jl
             -                                                     TATE CM E NUMBER,
                                               '


      EXAMPLE                                                     '
                                                                  j
               OURSTATECASENUMBER52010-61328-cA01NOTM WRIHENONTHEFEDERAL
                 .


      LEHERTOTHESTATE010-61928-CA01,HOW OBVI
                         .
                                              ;'OUS cAN THEF BE,tjxh.2: PAGE 1AND 2.
                                                                                 -



      ANDPUT INGINFAKEMOTIONSFROM &<TORECUSE JUDGEJOSE E1M ARTINEZ W ITH NO
      SIGNATVRESFROMMACKWELLSORMAURICESYM ONEH E SEE:CM E#I2:-C7-228*' DA TED    -   -



      08/23/2%TOMAKETHECASELOOKLIKEIT'sW GOING FRAUDULENTLY,      1 TO CONFUSE AND
      GIVETHEFAKEREMANDCREDANCEsoTHATTHEV:cA& OPERATEIN THEbARK
                                    .
                                                                 1 (UNDERANOTHER
      CASENUM-
             BERANDNAME)ANDJ&JFSTEALOURPROPERTYNlre&rEVERlsowwspaoorrsmw
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                                                                    ;
        Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 55 of 58


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              THEYOWN THENOTEORMORTGAGEWHILEWEWLREMAKINGALLTHEPAFMFNFSON TIMEWITH
              THERKIEPTSA&PROOFWHICH5 ONEOFTHEMAIV'REASON THATTHISCM I
                -                                                    E>A&DISMIMED WITH
                                                            !
              PREJUDICEIk20091WOW WEHAVENORIGHW             i                                             -
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                                                            1
    .         Judge M artinez did not sign a Rem and from a UI
                                                             .S.BANK N.A.to go against M ack W ells and
                                                            I
              Maurice Symonette to affect ourfiled corrected (Am ended Notice ofR'I
                                                            .

                                                                '
                                                                                  emovaland Com plaint
              undertheCase#23cv-22640-1EM dated 07/14/23.whereinJudge Martj
                                -
                                                                          inezasked usto show
          why the FederalCourtshad lurisdiction to Rem ove thisCase to FederalCourtas seen in case#
'

              23-cv-22640-JEM Dated08/03/23 weshowedourJurisdidion08/07/23 andthenwefiled ?ur
              notice ofcompliance forthe Notice ofRemovaland Complaint 10/12/23,then we filed our
              Notice of Rem ovalin County CourtCase# 1010-61928-CAO1,10/13/23,10/14/23 and10/15/23t
                                                                                                  ,'
                                                                                                   ..
          and the Clerks tried to keep our filings offthe Docket even though w e EFiled the Notice of

          Removalbutitwould notshow onthe DADE DOCKET severaltimes,Exh.19. and we gave itto

          the Clerk atthe Clerk's Counteron Cam era and gave itto Judge Carlos Lopez directasadm itted
          bytheHEADCLERKafterweshowedberthe video proofthen they putl
                                                                    the Notice ofRem oval
                                                         !
                                                         .
          Filings on the DADE DOCKT forOct. 13th,14th,and'15th,before the Oct.16thsaIes Date but they
                                                            '

          all
            owedtheSaleto go anywayin Violation FederalStay Law 28 U.S.CODEjSS1446 (d)onvideo
          godsz.com 1G-18.and 19.in the County Case# 1010-61928-CAO1andthey didtheSaleanyway
          inViolationof28USCODESS1446(d).USBANK knew wereintheNOTI1         CEOFREMOVALCourt
          because US BANK did a m otion forextension oftim e from Federalcasl
          -


                                                                            'e# 23-cv-22848 so we
          wenttotheFederalCourtandgotthe Correct Case# Notice of Rem oval1underFederalCase#
          23-cv-22640-2EM andtried to E-File itthree daysin a row asseen onthe DocketofCase# 2010-

          61928-CA01 dated 0ct.13th,14thand 15tband they would notallow iton the DocketExh.2.So
Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 56 of 58


                                                   r
                                                   '
                                                   :                                   tu
   w e had to go to the Courthouse and File itin person the day before w hich w asOd .15 an(jtje
                                                   i
   dayof0ct.16ththe dayofthe Sale asseenon Gldsz.com vid.1G-18 and gave itto theJudge
                                             !
                                                i
   and hisBaliffasseen onVideo IH and yettheyallpwed the houseto sellanyway in violation of
                                                   !

   FederalLaw 28 U.S.CodeSS 1446 (d)which stopsaIIStateaction immediatelyweobjededto

   theSaleandJudgeCarlosLopezimmediatel
                                      ystoppedbeingtheJudge1
                                                           '
                                                           andJudgeSpencerEig
   becam e the Judge and w e pointed out to him that.this case has already been Rem oved to
                                                                         I
                                                                         '

                                                                         j
   FederalCourtand itsstillin FederalCourtandJudge EigW entagainst28 U.S.CodeSS1446(d)
                                                   p
                                                   !                          '
   and w ent against the 3rd DcA Appellate courtGarcia V.Deutsche Bank Nat'lTrust Co.,ofthe
                                                   @                                          .
   which saysonce a Notice ofRemovalisFiled aIIStbte actionsstopsw hich istotally binding on
                                                   !                               '
   Judge Spencer Eig ofthe 11thJudicialCircuit Coprtfrom the FedetalCourts and the 3rd DcA

   Appellate Court.


   But the most im portant thing to remem ber is lhat this case# 23-cv-22640 has never been
   Remanded since July 14th untilright now therefpr
                                                 ! e there's a FederaIstay and aIIthis State
                                                   -

                                              l
   Courtactivityisinviolation of28U.S.CODESS1446
                                                                 j
                                              I (d)and(a).and mustbevoided.Orareyou

   saying Blackpeople have no rightsaccordingto Jjm Crow andthe Southern BlackCodewhich
   saysthatBlackPeoplearenotallowedto own iropertythese LawyersmustbeSanctioned,
   punished'and jailed Luke 11:47-56 and zThess.2::1                     1
                                                  1-11,saysthe Iaw lessones mustbe revealed

   and moved outofthewaywho breakalIIawsanà holdthemselvesnotguilty,Zech.11:5.lam

   ELAM AKA M aurice Symonette,See Godsz.com video# 1J.

   W HEREFO RE,Defendant requests the entry ofan order,on an em ergency basis,to
                                                   !

   VO ID the sale until the m atter under 23-CV-22640 is rem anded back from the
'




    Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 57 of 58




                                                                               l
      federalcourt,sustain the objection to the j,aIe orany otherreliefthisCourtdeems
                                                        !
      justand proper                                    l
                        .                               l.                                                    .




                                        CERTIFICATION OFEM ERGENCY


              Afterreviewing the fads and researching applicable legalprinciples,lcertify thatthis
                                                          1
      motionInfactpresentsatrueemergency(asopposedtoamatte1
                                                          rthatmayneedonl
                                                                        y
      expeditedtreatment)and requiresanimmediaterulingbecausetheCourtwouldnotbeableto
      provide m eaningfulrelief to a critical, non-routine issue after the expiration of seven days.
                                                                               l
       Because they have lllegally passed the Title m oving towards a w ritof po'
                                                                                ssession to cause us to
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C                                                                              1
      lose the house because of Rule 87 that only allow s you to get m oney ifyou
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                                                                               ' prevailand notthe
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      property thatw e have w orked so hard on.Iunderstand that an unw arranted certification m ay

      Iead to sanctions.




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                                 MACKwELLs                   MAURICESYMONEj
                                                                          WE
                               15020 S. RIVER DR.       l       15020 S.RIVER DR.
                               M IAM IFL.33167               M IAM IFL.33167


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Case 1:23-cv-22640-JEM Document 46 Entered on FLSD Docket 05/07/2024 Page 58 of 58

                                                     :
                                                     l
   thefederplcourt,JAILandSanctionLawyelsand U.S.BANK N.A.and VOID thesale
                                '                    j

   oranyotherreliefthisCourtDeemsjustand
                                       i proper                .

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                               CERTIFICATIO N O F EM ERG ENCY

          After review ing the facts and researching'applicable Iegalprinciples, Icertify that this

   motion In fact presents a true emergency (as opposed to a matte'
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                                                                  rthat may need only

   expedi
        tedtreatment)andrequiresanimmediateruli
                                              ngbecausetheCou1
                                                             rtwouldnotbeableto
   provide m eaningfulrelief to a cri
                                    tical,non-routine issue afterthe expiration of seven days.

   Because they have Illegally passed the Title m oving tow ards a w rit ofpossession to cause usto

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   osethehopsebecauseofRule87thatonl
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   property that w e have worked so hard on.lunderstand that an unwarr'
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                                                                      anted certification m ay

   Iead to sand ions.
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                             MACKWELLS                   MAURICESYMONjITE
                           15020 S. RIVER DR.                              1
                                                            15020 S.RIVER DR.
                           M IAM IFL.33167               M IAM IFL.33167
